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                               IN THE UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                       Case No.: 17-cv-60426-UU

  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.,

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

    Defendants.
  ____________________________________/


      DEFENDANTS’ MOTION IN LIMINE NO. 7 TO EXCLUDE EVIDENCE AND
    ARGUMENT REGARDING ALLEGED LOST BUSINESS VALUE, “BENEFIT TO
   BUZZFEED,” AND LOST PROFITS AS MEASURES OF CLAIMED DAMAGES, AND
                  INCORPORATED MEMORANDUM OF LAW
            Defendants BuzzFeed, Inc. and Ben Smith move this Court in limine to exclude all
  documents, testimony, and argument regarding the following as a measure of damages:
  (a) XBT’s alleged “lost business value”; (b) alleged “benefit to BuzzFeed” of publishing the
  statements at issue as a measure of damages; and (c) XBT’s alleged “lost profits.”
                                             ARGUMENT
            As set forth in Defendants’ Daubert Motion to Exclude Jeff Anderson (Dkt. 260),
  Plaintiffs are seeking to recover “lost business value” as a measure of XBT’s damages in this
  action, and have further employed their expert to identify approximately $14 million in “benefit
  to BuzzFeed” as a measure of damages. Each of these proposed measures of damages are legally
  impermissible. Moreover, to the extent that Plaintiffs will try to recycle their impermissible “lost
  business value” calculation as an estimation of general damage, such a calculation is more
  prejudicial than probative and should be excluded pursuant to Fed. R. Evid. 403. While
  Defendants’ Daubert motion is specifically directed at Mr. Anderson, this motion seeks to
  exclude such impermissible evidence regardless of the witness by which it is offered, as well as
  to exclude attorney argument to the jury on these theories of damages.
            Further, because Plaintiffs have only quantified their alleged damages based on these two
  theories – and have not disclosed any calculation of damages based on an alternative theory such


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  as “lost profits” – Plaintiffs may not change course at trial and seek to argue a novel theory of
  damages. Accordingly, Defendants ask this Court to preclude Plaintiffs from offering a theory of
  “lost profits” – or any other theory not disclosed and quantified during discovery – as a measure
  of damages at trial.
           A.        Plaintiffs May Not Employ “Lost Business Value” as a Measure of Damages
           Just as “lost business value” is an impermissible measure of damages for Mr. Anderson’s
  testimony, see Dkt. 260 at 12-13, plaintiffs may not seek to prove this theory of damages through
  fact witnesses or offer it through attorney argument. Unless a business has suffered “complete
  destruction,” its economic damages must be measured as lost profits. See In re Sherwood Invs.
  Overseas Ltd., 2016 WL 5719450, at *9-10 (M.D. Fla. Sept. 30, 2016) (damages calculated as
  “lost profits” are only available to continuing businesses and “lost business value” is only
  available where there has been complete destruction of a business). See also Preferred Care
  Partners Holding Corp. v. Humana, Inc., 2009 WL 10668573, at *2 (S.D. Fla. Apr. 13, 2009)
  (“It is well established that, under Florida law, ‘[i]f a business is completely destroyed, the
  proper measure of damages is the market value of the business on the date of the loss ... [but if]
  the business is not completely destroyed, then it may recover lost profits.’”) (citation omitted);
  Montage Grp., Ltd. v. Athle-Tech Computer Sys., Inc., 889 So. 2d 180, 193 (Fla. 2d DCA 2004)
  (“If a business is completely destroyed, the proper total measure of damages is the market value
  of the business on the date of the loss.”).
           XBT has obviously not suffered total destruction. It recorded approximately $58.4
  million in revenue in 2017 (an increase of 17.5% over 2016)1 and Mr. Anderson estimated it to
  be worth $415 million as of January 2018. Accordingly, XBT may not seek to recover “lost
  business value” as a measure of damages at trial.2




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      Ex. 1 (XBT 2017 audited financials) at 5.
  2
   Notably, Plaintiffs did not offer a proposed jury instruction as to “lost business value” as a
  measure of damages in connection with the parties’ Joint Pretrial Stipulation. See Dkt. 253-7 at
  10-11.

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           B.        Plaintiffs May Not Employ “Benefit to BuzzFeed” or “Unjust Enrichment”
                     as a Measure of Damages
           Similarly, just as Mr. Anderson should be precluded from testifying about alleged
  “benefit to BuzzFeed” as a measure of damages, see Dkt. 260 at 13-14, Plaintiffs may not elicit
  the same impermissible measure through other witnesses or attorney argument.
           This theory of damages would seek to disgorge from BuzzFeed, and enrich Plaintiffs, in
  the amount of the “benefit” BuzzFeed supposedly received from publishing the statements at
  issue. No matter what Plaintiffs attempt to call it, this is plainly a calculation of “unjust
  enrichment,” which is an equitable remedy. See High Frequency Prods., Inc. v. Wynn’s Climate
  Sys., Inc., 892 F. Supp. 1515 (S.D. Fla. 1995), aff’d, 91 F.3d 167 (Fed. Cir. 1996); see also Am.
  Honda Motor Co. v. Motorcycle Info. Network, Inc., 390 F. Supp. 2d 1170, 1178 (M.D. Fla.
  2005). As an equitable remedy, unjust enrichment is not available where there is an adequate
  legal remedy. High Frequency Prods., 892 F. Supp. at 1520. Plaintiffs are suing for defamation
  and seek almost $150 million, so they cannot allege they have no adequate remedy at law.
  Plaintiffs therefore may not also seek recovery for alleged unjust enrichment. See Vandermus v.
  Milhous, 2012 WL 12855474, at *4 (S.D. Fla. Aug. 14, 2012).
           Indeed, courts specifically addressing claims for unjust enrichments awards in
  defamation cases have consistently rejected them because “there is an adequate remedy at law
  available for public figures – money damages for defamation.” Ventura v. Kyle, 825 F.3d 876,
  887‒88 (8th Cir. 2016) (internal quotation marks and citations omitted), cert. denied, 137 S. Ct.
  667 (2017).3 Accordingly, Plaintiffs may not offer evidence or arguments of any alleged
  “benefit” to BuzzFeed or similar theories of unjust enrichment.
           Further, Plaintiffs have articulated no theory of “unjust enrichment” stemming
  specifically from the publication of the allegedly defamatory statements. Rather, the only
  computation relating to this theory was proffered by Mr. Anderson, and that was based on the
  alleged benefit of publishing the entire Dossier, the article in which the Dossier was embedded,

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    See also Metro. Opera Ass’n v. Local 100, Hotel Emps. & Rest. Emps. Int’l Union, 239 F.3d
  172 (2d Cir. 2001) (defamation provides for an adequate legal remedy, consequently, equitable
  remedies are not appropriate); Alberti v. Cruise, 383 F.2d 268 (4th Cir. 1965) (defamation
  provides an adequate remedy at law); McMahon v. Kindlarski, 512 F.3d 983 (7th Cir. 2008);
  Oorah, Inc. v. Schick, 2012 WL 3233674, at *4 (E.D.N.Y. Aug. 6, 2012) (“Oorah may seek
  damages if the School commits libel or slander; as it failed to demonstrate the inadequacy of that
  remedy, equitable relief was inappropriate.”), aff’d, 552 F. App’x 20 (2d Cir. 2014).

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  plus eight additional articles, none of which Plaintiffs have alleged to be defamatory in this
  action. See Dkt. 260 at 10-12, 14-15.
           C.        Plaintiffs May Not Change Course at Trial to Seek “Lost Profits” or Other
                     Theories of Damages Not Disclosed in Discovery
           On April 25, 2017, Plaintiffs served initial disclosures pursuant to Rule 26(a) stating that
  they were “unable at this time to present a full and accurate calculation of their damages arising
  from the actions and omissions of Defendants.” Ex. 2 at 3. While “explicitly reserving the right
  to supplement these disclosures as further information comes to light and discovery continues,”
  Plaintiffs stated that they suffered “damage to reputation/value” in an amount over $10 million;
  punitive damages in an amount over $10 million; and “emotional distress suffered by Gubarev”
  in an amount of at least $2 million. Plaintiffs further stated that they had “currently unknown”
  amounts of damages attributable to “marketing & PR costs,” “lost client/profits,” “damage to
  lender relationships,” “other consequential damages,” and “costs and attorney’s fees.” Id. at 4.
  Plaintiffs never served a supplemental or amended version of these disclosures.
           At the status conference on January 10, 2018, the Court ordered Plaintiffs to provide, by
  the end of February 2018, “a damages analysis that identifies the element of damages and the
  source of the damage, and the amounts.” Ex. 3 at 32:14-17.
           On February 18, 2018, XBT served its third and final supplemental responses to
  Defendants’ first interrogatories, which stated again that XBT “is unable at this time to provide a
  full accounting of all damages it has suffered as a result of the acts and omissions of Defendants,
  in part because damages are still ongoing.” Ex. 4 at 2. On February 23, 2018, Plaintiffs served
  Mr. Anderson’s expert report.
           In its supplemental response to Interrogatory No. 10, XBT claimed that “the XBT
  family” of businesses lost “$8,327,325.70 in revenue as compared to December 2016.” This
  number was apparently calculated by assuming that XBT’s revenue would have stayed at least at
  the level of December 2016 for all future months, determining the difference in revenue between
  the December 2016 number and each month’s revenue from January 2017 through July 2017,
  and adding those numbers together (which XBT considered “lost revenue”). XBT further stated
  that the “actual lost revenue” by XBT was “significantly higher” than that $8.3 million figure
  due to “the growth that XBT was experiencing.” Ex. 4 at 3. XBT never quantified this higher
  “actual lost revenue” figure, and Mr. Anderson did not employ this method in his damages


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  analysis. See Ex. 5 (Anderson Dep.) at 62:21-63:9 (testifying that lost business value is “the
  only measure of damages I have presented”).
           XBT further stated that the $8.3 million “lost revenue” number was over-inclusive, since
  it “constitutes total loss from the defamatory actions of Defendants as well as Christopher Steele
  and Orbis Business Intelligence”; that “Plaintiffs do not seek to hold Buzzfeed responsible for
  the damages it suffered as an account of the actions and omissions of Christopher Steele and
  Orbis Business Intelligence”; and that “the damages at this time have not been apportioned.”
  Ex. 4 at 3. XBT never supplemented its response to apportion these damages as promised, and
  Mr. Anderson testified that he did not make any effort to apportion damages between this case
  and Plaintiffs’ suit against Mr. Steele and Orbis in the United Kingdom. Ex. 5 (Anderson Dep.)
  at 65:23-66:24.
           In addition to the “lost revenue” figure, XBT stated that Plaintiffs “suffered damage to
  their reputation and value, which they estimate to be over $10,000,000, the precise amount of
  which will have to be determined by an appropriate expert.” Ex. 4 at 3. The only damages
  expert that XBT disclosed was Mr. Anderson, and as noted above, he used “lost business value”
  as the only measure of damages. Finally, XBT stated that Plaintiffs “suffered damages to lender
  relationships, the dollar amount of which cannot at this time be determined by Plaintiffs
  themselves.” Id. Plaintiffs never supplemented this response to identify a “dollar amount”
  attributable to this alleged “damage[] to lender relationships,” and Mr. Anderson’s report does
  not include such a calculation.4
           Rule 26(a) requires disclosure of “a computation of each category of damages claimed by
  the disclosing party.” Fed. R. Civ. P. 26(a)(1)(A)(iii). Rule 26(e) requires parties to supplement
  disclosures made under Rule 26(a) or through responses to interrogatories or requests for
  production “if the party learns that in some material respect the disclosure or response is
  incomplete or incorrect, and if the additional or corrective information has not otherwise been

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   Mr. Anderson admitted at his deposition that he did not conduct any independent investigation
  or speak with any lenders to determine whether there had, in fact, been any financial damage
  based upon lender relationships. Ex. 5 (Anderson Dep.) at 19:17-24:14,134:1-135:25, 137:21-
  148:15. Mr. Anderson admitted that he simply assumed that XBT had “trouble with banks”
  because XBT CFO Rajesh Mishra told him so (and he took Mr. Mishra’s word for it), and based
  on his review of a single email between a Dutch bank and a Dutch Webzilla entity that is not a
  party to this case, where the bank simply asked for additional information as part of “know your
  client” protocols.

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  made known to the other parties during the discovery process or in writing.” Fed. R. Civ. P.
  26(e)(1)(A). See also Mee Indus. v. Dow Chem. Co., 608 F.3d 1202, 1221 (11th Cir. 2010). If a
  party fails to comply with Rule 26(a) or (e), the Court can forbid the use of “that information or
  witness to supply evidence . . . at a trial, unless the failure was substantially justified or is
  harmless.” Fed. R. Civ. P. 37(c)(1). “The party in breach of Rule 26(a) or (e) bears the burden
  of establishing substantial justification or harmlessness to the opposing party.” Mortg. Payment
  Prot., Inc. v. Cynosure Fin., Inc., 2010 WL 11507658, at *2 (M.D. Fla. Nov. 5, 2010).
           Plaintiffs have never disclosed an amount or computation of damages based upon a
  theory of “lost profits” at any point during discovery, including in their Rule 26(a) disclosures,
  their interrogatory responses, or their expert report. Plaintiffs’ mere production of audited
  financial statements is not enough to satisfy Rule 26; Plaintiffs “may not shift to Defendants the
  burden of attempting to determine the amount of Plaintiff’s alleged damages” and cannot satisfy
  Rule 26(a) simply by “providing–without an explanation–undifferentiated financial statements.”
  Azure LLC v. Figueras Seating U.S.A., Inc., 2014 WL 12512542, at *1 (S.D. Fla. Jan. 10, 2014).
  “Rather, Plaintiff must compute in dollars how much it claims for each category of damages.”
  Id. “A damages computation is especially necessary when plaintiff seeks complex damages such
  as lost profits.” Water v. HDR Eng’g, Inc., 2011 WL 13176484, at *5 n.10 (M.D. Fla. May 11,
  2011).
           Accordingly, Plaintiffs should be precluded from seeking lost profits – or any other new
  category of damages not disclosed to Defendants in discovery – at trial. See, e.g., Managed Care
  Sols., Inc. v. Essent Healthcare, Inc., 2010 WL 11506057, at *12 (S.D. Fla. Aug. 31, 2010)
  (precluding plaintiff from presenting evidence of lost profits at trial because it failed to serve
  disclosures detailing its computation of alleged lost profits during discovery); Mortg. Payment
  Prot., 2010 WL 11507658, at *4 (granting motion to strike “lost profits” theory of damages
  newly added after the close of discovery); Mee Indus., 608 F.3d at 1222 (upholding exclusion of
  plaintiff’s “loss of goodwill” theory of damages where plaintiffs failed to disclose this theory
  until joint pretrial statement and failed to provide any computation of such damages); Design
  Strategy, Inc. v. Davis, 469 F.3d 284, 293–97 (2d Cir. 2006) (upholding exclusion of lost profits
  evidence based on lack of notice or computation of such damages).




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  Dated: October 29, 2018            Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

           I hereby certify that a true and correct copy of the foregoing, together with its exhibits,
  will be served electronically by email on all counsel or parties of record on the service list below
  this 29th day of October, 2018.



                                                  By: /s/ Adam Lazier
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